                        Case 1:21-cr-00214-JDB Document 1 Filed 02/22/21 Page 1 of 1
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        Joseph Lino Padilla (AKA: Jose Padilla)
                  DOB: XXXXXX


                            Defendant(s)


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              Code Section                                                           Offense Description
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 111(a)(1), and (b) - Assault Law Enforcement Officer with a Deadly or Dangerous Weapon,
        18 U.S.C. § 1752(a)(1), (b)(1)(A) - Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority with a Deadly
        or Dangerous Weapon,
        18 U.S.C. § 1752(a)(2), (b)(1)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous
        Weapon,
        18 U.S.C. § 1752(a)(4), (b)(1)(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous
        Weapon,
        40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.
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                                                                                                        Complainant’s signature

                                                                                              Timothy J. Ervin, Special Agent
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